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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

Case No. Ga 1 cy wo 4 it 4 ~ CN

INDICTMENT

Plaintiff,

VS,
21 U.S.C §§ 841(a)(1), (b)C)(A), (6)(1)B),
ARMANDO MONTES TOVAR, (b)(1)(C), 846, and 853

VIRGINIA HERNANDEZ-TOVAR,

 

Defendants.

 

The Grand Jury charges:
COUNT ONE

Conspiracy to Distribute Methamphetamine and Heroin
21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846

Beginning on or about June 1, 2019, and continuing to on or about November 5, 2019, in

the District of Idaho and elsewhere, the defendants, ARMANDO MONTES TOVAR and

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VIRGINIA HERNANDEZ-TOVAR, knowingly and intentionally combined, conspired,
confederated and agreed together and with other persons, known and unknown to the Grand Jury,
to commit the following offenses against the United States: distribution and possession with
intent to distribute heroin and five hundred grams or more of a mixture and substance containing
a detectable amount of methamphetamine, Schedules I and II controlled substances, in violation
of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A), all in violation of Title 21,

United States Code, Section 846.

COUNT TWO

Distributing Methamphetamine
21 U.S.C. § 841(a)(1), (b)(1)(C)

On or about June 3, 2019, in the District of Idaho, the defendant, ARMANDO MONTES
TOVAR, did knowingly and intentionally distribute a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Section 841(a)(1) and (b)(1)(C).

COUNT THREE

Distributing Methamphetamine
21 U.S.C. § 841(a)(1), (b)(1)(B)

On or about June 4, 2019, in the District of Idaho, the defendant, ARMANDO MONTES
TOVAR, did knowingly and intentionally distribute fifty grams or more of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a}(1) and (b)(1 (B).

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COUNT FOUR

Distributing Methamphetamine
21 U.S.C. § 841(a)), (bAY(C)

On or about July 16, 2019, in the District of Idaho, the defendant, ARMANDO MONTES
TOVAR, did knowingly and intentionally distribute a mixture and substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Section 841(a)(1) and (b)(1)(C).

COUNT FIVE

Distributing Methamphetamine
21 U.S.C. § 841(a)(1), (b)()(B)

On or about August 6, 2019, in the District of Idaho, the defendant, ARMANDO
MONTES TOVAR, did knowingly and intentionally distribute fifty grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841{a)(1) and (b)(1)(B).

COUNT SIX

Distributing Methamphetamine
21 U.S.C, § 841(a)(D, (b)(D(B)

On or about August 8, 2019, in the District of Idaho, the defendant, ARMANDO
MONTES TOVAR, did knowingly and intentionally distribute fifty grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a Schedule IT controlled

substatice, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).

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COUNT SEVEN

Distributing Methamphetamine
21 U.S.C. § 841(a)(1), (b)(1)(B)

On or about August 22, 2019, in the District of Idaho, the defendant, ARMANDO
MONTES TOVAR, did knowingly and intentionally distribute fifty grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).

COUNT EIGHT

Distributing Heroin.
21 U.S.C, § 841(a)(1), (b))(C)

On or about October 5, 2019, in the District of Idaho, the defendant, ARMANDO
MONTES TOVAR, did knowingly and intentionally distribute a detectable amount of heroin, a
Schedule I controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)

and (b)(1)(C).

COUNT NINE

Possession with Intent to Distribute Methamphetamine and Heroin
21 U.S.C. § 841 (a)(1), (b)(D(A)

On or about November 5, 2019, in the District of Idaho, the defendants, ARMANDO
MONTES TOVAR and VIRGINIA HERNANDEZ-TOVAR, did knowingly and intentionally
possess with the intent to distribute heroin and five hundred grams or more of a mixture and
substance containing a detectable amount of methamphetamine, Schedules I and IE controlled

substances, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A).

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CRIMINAL FORFEITURE ALLEGATION
Drug Forfeiture
21 U.S.C, § 853
Upon conviction of one or more of the offenses alleged in this Indictment, the defendants,

ARMANDO MONTES TOVAR and VIRGINIA HERNANDEZ-TOVAR, shall forfeit to the
United States, pursuant to 21 U.S.C. § 853, any and all property, real and personal, tangible and
intangible, consisting of or derived from any proceeds the defendant obtained directly or
indirectly as a result of the foregoing drug offenses; and any and all property, real and personal,
tangible and intangible, used or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, the foregoing offenses. The property to be forfeited ineludes, but is
not limited to, the following:

1, Cash Seizures. Approximately $44,812.00 seized on November 5, 2019,

2, Unrecovered Cash Proceeds and/or Facilitating Property. The defendant

 

obtained and controlled unrecovered proceeds of the offense of conviction, or property derived
' from or traceable to such proceeds, and property the defendant used to facilitate the offense (if
facilitation is alleged), but based upon actions of the defendant, the property was transferred,
diminished, comingled, or is otherwise unavailable.

3, Substitute Assets, Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “or any other property of the defendant”
up to the value of the defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a, Cannot be located upon the exercise of due diligence;
b, Has been transferred or sold to, or deposited with, a third person;
c. Has been placed beyond the jurisdiction of the court;

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d. Has been substantially diminished in value; or
e, Has been commingled with other property which cannot be subdivided without
difficulty.

All pursuant to Title 21, United States Code, Section 853.
Dated this | 3 day of November, 2019,
A TRUE BILL

/s/ [signature on reverse]

 

Foreperson
BART M. DAVIS
United States Attorney

By: ee

Christian Sv Nafzged *
Assistant United States Attorney

         

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